1                                                                      Honorable Marc L. Barreca
                                                                                          Chapter 7
2                                                              Hearing Location: Seattle, Rm. 7106
                                                                     Hearing Date: March 21, 2024
3                                                                         Hearing Time: 9:30 a.m.
                                                                   Response Date: March 14, 2024
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8                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF WASHINGTON
9                                         AT SEATTLE

10    In re:
                                                              Case No. 23-10326-MLB
11    ASSET REALTY LLC,

12                                                            DECLARATION OF SERVICE
                                            Debtor.
13

14             I, Sandra D. Lonon, hereby declare that on February 21, 2024, the following

15    documents:

16             NOTICE OF MOTION FOR ORDER AUTHORIZING TRUSTEE TO SELL
               PROPERTY OF THE ESTATE (“Notice”);
17
               MOTION FOR ORDER AUTHORIZING TRUSTEE TO SELL PROPERTY
18             OF THE ESTATE FREE AND CLEAR OF LIENS AND CLAIMS (the
               “Motion”);
19
               (PROPOSED) ORDER AUTHORIZING TRUSTEE TO SELL PROPERTY
20             OF THE ESTATE FREE AND CLEAR OF LIENS AND CLAIMS (the
               “Proposed Order”);
21
               DECLARATION OF EDMUND J. WOOD and Exhibit A attached thereto
22             (the “Wood Declaration”); and

23             DECLARATION OF CHAD STOREY (the “Storey Declaration)

24    were uploaded electronically through the Court’s CM/ECF system and served by Notice of

25    Electronic Filing upon those parties requesting notice and who are registered ECF

26    participants.

      DECLARATION OF SERVICE - 1                                            FOSTER GARVEY PC
                                                                         1111 THIRD AVENUE, SUITE 3000
                                                                        SEATTLE, WASHINGTON 98101-3292
                                                                       PHONE 206-447-4400 FAX 206-749-9700
      FG: 102421624.1

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1             In addition, I caused to be served true and correct copies of the Notice, the Motion,

2     the Proposed Order, the Wood Declaration and the Storey Declaration by email to Chad

3     Storey, former Managing Member of debtor Asset Realty LLC, at chad.storey@c21nwr.com.

4             I further caused to be served true and correct copies of the Notice by first-class,

5     postage prepaid US Mail on all parties on Debtor’s List of Creditors attached hereto as

6     Exhibit A and incorporated herein.

7             I declare the foregoing to be true and accurate to the best of my knowledge under

8     penalty of perjury of the laws of the United States of America.

9             Executed on February 23, 2024 at Bremerton, Washington.

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                                                   /s/ Sandra D. Lonon
11                                                 Sandra D. Lonon, Legal Practice Assistant
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      DECLARATION OF SERVICE - 2                                             FOSTER GARVEY PC
                                                                          1111 THIRD AVENUE, SUITE 3000
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